               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


  Food Lion, LLC, and Maryland and
  Virginia Milk Producers Cooperative
  Association, Inc.,

            Plaintiffs,
                                              Case No. 1:20-cv-00442
  v.

  Dairy Farmers of America, Inc.,

            Defendants.


  BRIEF IN SUPPORT OF DAIRY FARMERS OF AMERICA, INC.’S
             MOTION FOR PROTECTIVE ORDER

                NATURE OF THE MATTER BEFORE THE COURT

        Plaintiffs Food Lion, LLC (“Food Lion”) and Maryland and Virginia Milk

Producers Cooperative Association, Inc. (“MDVA”) have brought a narrowly

focused antitrust case seeking only injunctive relief relating to the three fluid

milk 1 processing plants located in North and South Carolina that Dairy

Farmers of America, Inc. (“DFA”) acquired out of the bankruptcy of Dean Foods

Company (“Dean”). Plaintiffs assured this Court that they were aware of the




       “Fluid milk” is the term used to denote conventional drinking milk. It
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encompasses milk sold in various sizes at grocery stores (e.g., gallons and half-
gallons), and well as milk sold in schools. It does not include organic milk or
milk that is processed and packaged for extended shelf life.

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need for “discipline” in discovery to “keep the case moving and make sure that

the interests of the various parties are protected.” (ECF No. 29 at 23:17-19.)

But the moment the Court denied DFA’s motion to dismiss Plaintiffs’

complaint, Plaintiffs launched wide-ranging discovery, serving an additional

forty-six (46) document requests on DFA. It would be impossible for any

company to comply with Plaintiffs’ expansive view of discovery under the

expedited schedule in this case.

         To make matters worse, Plaintiffs have not engaged in reciprocal

discovery. As of the filing of this motion, Plaintiffs have produced only a few

dozen actual business documents. Moreover, Food Lion has resisted producing

information that would allow DFA to understand the data that it has produced,

notwithstanding the Court’s order that structured data be provided by August

15, 2020. In contrast, DFA has produced over 18,000 documents, which in turn

allowed Plaintiffs to raise specific questions about which custodians DFA

should search (something that DFA cannot do as to Plaintiffs’ custodians given

the sparsity of Plaintiffs’ productions to date), and to craft, should they so

choose, focused follow-up discovery based on perceived gaps in what Plaintiffs

received in response to their initial discovery requests (again, something that

DFA cannot do as to Plaintiffs given the sparsity of Plaintiffs’ productions to

date).



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      DFA files this Motion to halt Plaintiffs’ abuse of the discovery process.

DFA requests that the Court intervene to prevent DFA from having to respond

to 16 kitchen-sink style discovery requests, most of which have little if

anything to do with raw or fluid milk sales or processing in North or South

Carolina, the area of the country that Plaintiffs have asserted is the “relevant

geographic market.” 2

                              BACKGROUND

      A.    The Discovery Schedule

      Plaintiffs initially sought expedited discovery in this case and proposed

to serve 18 document requests on DFA. At a June 4, 2020 Status Conference,

the Court expressed some concern about the scope of Plaintiffs’ proposed

requests, observing that “it’s one thing when you're just in the middle of a

regular ordinary ‘ole case to ask for the kitchen sink and say we'll work it all

out, but when you’re asking for expedited discovery on a 90-day time frame,

don’t you bear a significant responsibility for proposing narrow, targeted

discovery?” (ECF No. 29 at 29:15-20.) The Plaintiffs accepted that

responsibility. Subsequently, on June 10, 2020, the Court entered an Order

(the “Expedited Discovery Order”) (ECF No. 28) allowing Plaintiffs to serve 12




      DFA timely served written objections and responses to all of the Second
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RFPs on August 26, 2020.

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targeted discovery requests on DFA and requiring DFA to serve written

responses and objections to those requests by July 17, with DFA’s document

production to begin at the same time on a rolling basis. Per the limits of the

Expedited Discovery Order, Plaintiffs served on DFA on June 17, 2020 eight

requests for production of documents (the “First RFPs”).

      At the Court’s suggestion, the parties also negotiated a Stipulated

Discovery and Briefing Schedule/Order (the “Scheduling Order”), which the

Court entered on July 2, 2020. The Scheduling Order established an expedited

90-day schedule for written discovery and document production. Specifically,

the production of structured data by all parties was to be completed by August

15, 2020. The parties had until August 31, 2020 to serve additional written

discovery requests, and all document productions are to be completed by

October 2, 2020. 3

      B.    The Parties’ Document Productions to Date

      On July 17, 2020, DFA served its written responses and objections to the

First RFPs. (See Declaration of Amber L. McDonald (“McDonald Dec.”) ¶4.)

That same day, DFA produced raw milk sales data for North and South


      3On August 31, Plaintiffs served a Combined Third Set of Requests for
Production of Documents containing an additional five requests, including one
request that seeks documents responsive to 11 “specifications” contained in a
subpoena issued to Southern Foods Group, LLC d/b/a Dean Foods Company,
the legacy entity for Dean.

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Carolina for the time period from January 2017 to May 2020. (Id.) In a show of

good faith, DFA produced this data while the parties were still in the process

of negotiating a Protective Order and ESI Protocol, and did not use those

negotiations as a basis to delay the data production, even though it could have

waited until August 15 under the terms of the Scheduling Order. In response

to Plaintiffs’ RFP No. 1, DFA also produced over 18,000 pages of documents

relating to raw milk or fluid milk produced or sold in North and South Carolina

that were previously produced to the Department of Justice and/or state

Attorneys General. (Id. ¶5.)

      On August 7, 2020, DFA produced documents responsive to Plaintiffs’

RFP Nos. 2 and 6, and, per negotiations between the parties, voluntarily

supplemented its raw milk sales data to include data for Virginia, North

Carolina, South Carolina, Georgia, and part of Tennessee, for the period from

January 1, 2017 through June 30, 2020. (Id. ¶6.) On August 10, 2020, DFA

produced data responsive to Plaintiffs’ RFP No. 8. (Id. ¶7.) On August 14, 2020,

DFA produced documents responsive to Plaintiffs’ RFP Nos. 5 and 8, and

produced a copy of DFA’s Hart-Scott-Rodino filing with the Justice

Department. (Id. ¶8.) On August 20, DFA made another significant production,

including an expanded production of materials produced to the DOJ, and

supplementing the previous raw milk sales data with the now-completed July



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2020 data. (Id. ¶9.) On August 31, 2020, DFA produced additional documents

responsive to Plaintiffs’ RFP Nos. 1, 2, and 8. (Id. ¶10.)

      Plaintiffs, in contrast, have produced little in the way of discovery. DFA

served requests for production of documents on July 10. Both MDVA and Food

Lion served their responses on August 10, but neither Plaintiff made any

production of documents with its response. (Id. ¶12.) On August 14, Food Lion

produced 33 documents, and MDVA produced 12 documents. (Id. ¶13.) On

August 21, Food Lion produced an additional 27 documents, and MDVA

produced 23 documents. (Id. ¶14.) As of August 31, Plaintiffs have produced a

total of 95 documents, more than two weeks after serving their responses, and

45 days after receiving DFA’s requests. (Id. ¶15.) Of the 95 documents

Plaintiffs produced, 88 are communications with DOJ or documents cited by

Professor Shor in his declaration (ECF No. 15). (Id.) Plaintiffs also have also

declined to start custodian and search term-based review until all written

discovery is served, despite the Court’s Order that allowed written discovery

to be served through August 31. (Id. ¶16.)

      C.    Plaintiffs’ Second Set of RFPs

      On July 27, 2020—just ten days after DFA served its written responses

to the First RFPs—Plaintiff served a second set of requests for production (the




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“Second RFPs”) containing an additional 46 document requests. (McDonald

Dec. Exhibit 1.)

      DFA notified Plaintiffs of its concerns about the scope and breadth of the

Second RFPs on August 18, 2020 and requested a meet-and-confer before

DFA’s written responses were due. (Id. Exhibit 2.) The parties met-and-

conferred telephonically on August 20, 2020, and DFA confirmed the substance

of that call on August 24, 2020. (Id. Exhibit 3.) During the meet-and-confer,

Plaintiffs agreed to consider modifying six requests, and the parties agreed to

table their discussion of some of the other requests pending DFA’s service of

its formal objections and responses and further negotiations between the

parties. (Id.) As to a dozen of the Second RFPs, however, the parties remained

at an impasse. (Id. at 3-5.) On August 26, 2020, the day that DFA’s responses

were due, Plaintiffs followed up on the meet-and-confer by reformulating three

of the requests they agreed to reconsider, but remaining firm on the others.

(Id. Exhibit 4.) Although Plaintiffs indicated a full response to DFA’s August

24, 2020 letter would be forthcoming, DFA has not received a response. DFA

timely served its objections and responses to the Second RFPs on August 26,

2020. (Id. Exhibit 5.)

      Based on Plaintiffs’ current position, DFA seeks relief as to 16 of the 46

requests. Those 16 requests fall into six categories:     1) Requests seeking



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discovery of “all documents” having to do with MDVA, its farmer members, and

other non-DFA farmers (RFP Nos. 27, 42, and 43); 2) requests for “all

documents concerning or relating” to raw milk purchases for a non-fluid milk

processing plant located in New Jersey going back to January 1, 2016, and “all

documents concerning or relating” to Deans’ raw milk purchasing decisions in

Kentucky and Tennessee going back to January 1, 2013 (RFP Nos. 40 and

41); 3) requests for “all documents related to or used in” preparing DFA’s

Answer and “all documents pertaining to, relied upon, identified, or referred to

by DFA in its interrogatory responses (RFP Nos. 49 and 50); 4) requests for

“all documents” related to studies or analyses of the raw and fluid milk

markets for a five-state area going back six years (RFP Nos. 25 and 26); 5)

requests for “all documents” created regarding two other dairy farmer

cooperatives and a dairy marketing company (RFP Nos. 44 through 48), and

6) “catch-all” requests for “all documents concerning or relating to DFA’s,

Dean’s, or any other company’s” pricing for fluid milk and “to the extent not

produced in response” to Plaintiffs’ first document requests, “documents

concerning or relating to the supply of processed milk” in the Relevant Area

(RFP Nos. 29 and 31).




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                                 ARGUMENT

I.    STANDARD OF REVIEW

      Under Rule 26(b)(2)(c), “[o]n motion or on its own, the court must limit

the frequency or extent of discovery otherwise allowed by these rules or by local

rule if it determines that: (i) the discovery sought is unreasonably cumulative

or duplicative, or can be obtained from some other source that is more

convenient, less burdensome, or less expensive; . . . or (iii) the proposed

discovery is outside the scope permitted by Rule 26(b)(1).” Rule 26(b)(1), in

turn, permits discovery

      regarding any nonprivileged matter that is relevant to any party's
      claim or defense and proportional to the needs of the case,
      considering the importance of the issues at stake in the action, the
      amount in controversy, the parties’ relative access to relevant
      information, the parties’ resources, the importance of the discovery
      in resolving the issues, and whether the burden or expense of the
      proposed discovery outweighs its likely benefit

      Under Rule 26(b)(1), “[r]elevancy alone is no longer sufficient—discovery

must also be proportional to the needs of the case.” In re Bard IVC Filters

Products Liab. Litig., 317 F.R.D. 562, 564, (D. Ariz. 2016). “The purpose of the

presently codified proportionality principle is to permit discovery of that which

is needed to prove a claim or defense, but eliminate unnecessary or wasteful

discovery.” Crystal Lakes v. Bath & Body Works, LLC, No. 2:16-CV-2989-MCE-

GGH, 2018 WL 533915, at *1 (E.D. Cal. Jan. 23, 2018). Even prior to the



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amendments to Rule 26 to incorporate the proportionality principle, this Court

recognized that “requests seeking ‘any and all’ documents ‘relating to’ are

overly broad.” Donnelly v. Arringdon Dev., Inc, No. 1:04CV889, 2005 WL

8167556, at *1 (M.D.N.C. Nov. 8, 2005).

       As the party resisting discovery, DFA bears the burden of persuasion,

Santiago v. S. Health Partners, No. 15CV589, 2016 WL 4435229, at *2

(M.D.N.C. Aug. 19, 2016), but as noted in the advisory committee notes to the

2015 amendments to Rule 26, “[t]he parties and the court have a collective

responsibility to consider the proportionality of all discovery and consider it in

resolving discovery disputes.”

II.    PLAINTIFFS’ SECOND REQUESTS FOR PRODUCTION ARE
       DISPROPORTIONATE TO THE NEEDS OF THIS CASE.

       This is not an antitrust case alleging a horizontal conspiracy among

competitors to fix prices, nor is it a monopolization (or intent to monopolize)

case where a plaintiff seeks monetary damages. Rather, this a narrow lawsuit

under Section 7 of the Clayton Act and Section 2 of the Sherman Act seeking

to force a divestiture of one or more fluid milk processing plants in North and




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South Carolina that DFA acquired out of Dean’s bankruptcy, pursuant to an

open, court-supervised bidding process. 4

      Plaintiffs’ basic allegation is that DFA’s acquisition of three former Dean

Foods fluid milk processing plants in North and South Carolina will foreclose

Plaintiffs’ access to alleged markets for raw and fluid milk in those two states.

Plaintiffs assert that their theory allows them to take timeless, geographically

limitless discovery under the rubric that “everything is relevant” in an

antitrust case. In doing so, Plaintiffs not only ignore the narrow focus on the

theory of their case and this Court’s admonition that, in exchange for an

expedited discovery process, Plaintiffs bear responsibility to conduct focused

discovery.




      4This lawsuit represents Plaintiff MDVA’s third bite at the apple as to
the Carolinas Plants. MDVA initially attempted to buy one of the plants out of
the bankruptcy proceeding, but its bid was rejected. MDVA also attempted
unsuccessfully to convince the Department of Justice to force DFA to divest the
Carolinas Plants as a condition of DOJ’s approval of the Asset Sale.

      Food Lion did not even submit a bid for a plant in the Dean bankruptcy,
even though it is part of a $62 billion multi-national grocery conglomerate that
operates six brands of grocery stores in the U.S. alone.


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      A.    Plaintiffs’ Requests for All Documents Concerning or
            Related to MDVA or Independent Farmers for a Six-Year
            Period Are Overbroad and Disproportionate.

      Requests for Production Nos. 27, 42, and 43: RFP No. 27 seeks “[a]ll

documents created since January 1, 2014, concerning or relating to MDVA, its

farmer members, or any other non-DFA producer of raw milk in the Relevant

Area.” 5 In other words, Plaintiffs are requesting that DFA produce every

document for a six-and-a-half-year period that “concerns or relates” to MDVA,

any of its members, or any non-DFA member farm in a five-state area,

regardless of context or substance. RFP No. 42 seeks all documents created

since January 1, 2013 “concerning or relating to MDVA farmer members

located in Tennessee or Kentucky becoming DFA members.” RFP No. 43

similarly seeks “[a]ll documents created since January 1, 2014, concerning or

relating to communications between DFA and any MDVA member farmers”

without any limitation as to geographic scope or substance. To give this request

some context, MDVA purports to have over 950 members in 11 states. (ECF

No. 1 at ¶2).




      5For purposes of the Second RFPs, the “Relevant Area” consists of North
Carolina, South Carolina, Georgia, Virginia, and the portion of Tennessee
located in Federal Milk Marketing Order No. 5 (a small portion in Eastern
Tennessee that includes Knoxville).

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      These requests are disproportionate and overbroad in that they seek all

of DFA’s documents regarding MDVA and its member farmers for a six-year

period (and even longer for MDVA members in Kentucky or Tennessee),

regardless of context or subject matter. In Elsayed v. Family Fare LLC, No.

1:18CV1045, 2019 WL 8586708 (M.D.N.C. Oct. 31, 2019), this Court rejected a

similarly broad request that would “require Defendants to produce all e-mails

for a three-year period and all text or instant messages for a six-year period . .

. without regard to the substance of those communications” as a “blatant

fishing expedition essentially seeking all communications relating to Plaintiff

rather than only those having any apparent or possible nexus to the issues in

this case.” 2019 WL 8586708, at *3 (quoting Ge v. Dun & Bradstreet, Inc., 2017

WL 10059004, at *4 (M.D. Fla. Jan. 4, 2017) (brackets and alterations

omitted)). See also Kleppinger v. Texas Dep't of Transp., No. CV L-10-124, 2012

WL 12893652, at *20 (S.D. Tex. Mar. 12, 2012) (“This request is overbroad in

that it basically seeks all communications regarding Plaintiff.”) Plaintiffs’

requests here suffer from the same overbreadth problem.

      Plaintiffs’ position appears to be that they are entitled to this discovery

because they have alleged that some MDVA member farms may switch to DFA

as a result of the acquisition of the Carolinas Plants. (Compl. ¶116.) Plaintiffs’

requests are disproportionate to that narrow allegation, however, as Plaintiffs



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seek all documents concerning or related to non-DFA farmers who are also non-

MDVA farmers. Plaintiffs have offered no explanation as to how documents

regarding non-MDVA members are relevant to their allegations.

      Nor have Plaintiffs explained how documents “concerning or related to

communications between DFA and any MDVA farmer members,” without any

limit on geography or subject matter, are relevant to their allegations that

some MDVA farmers may switch to DFA as a result of the acquisition of the

Carolinas Plants. Moreover, the six-year time period of these requests—

especially when coupled with the lack of any geographic limitation as to the

request for communications with MDVA’s member farmers—is also

unreasonable given Plaintiffs’ failure to point to any specific relevance that

documents and communications from 2014 may have in this case (in addition

to their disregard of the otherwise agreed-upon time period). In short, much

like the request at issue in Elsayed, Plaintiffs’ requests are little more than a

“fishing expedition” seeking all documents concerning or relating to MDVA,

“rather than only those having any apparent or possible nexus to the issues in

this case.”




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      B.    Plaintiffs’ Requests for Documents That Relate to Events
            Far Outside the Relevant Geographic Area Are Irrelevant
            and Disproportionate.

      Request for Production No. 40: This request seeks “[a]ll documents

created since January 1, 2016, concerning or relating to the decisions and/or

actions of Cumberland Dairy in New Jersey and/or DFA to reduce or eliminate

the volume of raw milk that the Cumberland Dairy processing facility

purchased from MDVA.” Cumberland Dairy is a milk processing plant that

produces shelf-stable products. 6 In other words, Plaintiffs seek discovery about

raw milk purchasing decisions made as long as four years ago for a processing

plant located in New Jersey that does not operate in the fluid milk market that

Plaintiffs have contended is the relevant product market for the analysis of

this case. Plaintiffs’ apparent theory of relevance is that they contend that

what Cumberland and DFA allegedly did in 2016 in New Jersey is probative

of what DFA allegedly might do in North and South Carolina in 2021. This

request—which would inevitably lead to a “trial-within-a-trial” about

Cumberland Dairy—seeks irrelevant information and is disproportionate to

the needs of the case because it has nothing to do with Plaintiffs’ alleged

product market of fluid milk, the alleged geographic market of North and




      6    See       https://cumberlanddairy.com/wp_super_faq/what-is-ultra-
pasteurization/ (last retrieved on September 1, 2020).

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South Carolina, or even anything to do with the expanded “Relevant Market”

set out in the Second RFPs.

      Request for Production No. 41: This request seeks “[a]ll documents

created since January 1, 2013, concerning or relating to actions and/or

decisions by processing facilities owned by or affiliated with Dean and located

in Kentucky and Tennessee to reduce or eliminate the volume of raw milk

purchased from MDVA.” Again, Plaintiffs appear to contend that actions

allegedly taken by Dean Foods in Kentucky and Tennessee seven years ago are

probative of what DFA allegedly will do in North and South Carolina in 2021.

As with the prior request, RFP No. 41 would lead to litigation of issues that

have at best tangential relevance to the present case, and is disproportionate

in light of Plaintiffs’ alleged geographic market of North and South Carolina.

Plaintiffs’ request for documents going all the way back to January 1, 2013 is

similarly disproportionate given the parties’ agreement that the relevant time

period in this case is January 1, 2017 to July 30, 2020.

      C.    Plaintiffs’ Requests for All Documents That Relate or
            Pertain to DFA’s Pleadings and Interrogatory Responses
            Lack the Required Particularity.

      RFP Nos. 49 and 50: These requests seek “[a]ll documents related to

or used in the preparation of any allegation, denial, or affirmative defense

raised in Your pleadings in the Pending Action,” and [a]ll documents



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pertaining to, relied upon, identified, or referred to by You in responding to any

Interrogatory propounded by Plaintiffs in the Pending Action.” This Court has

repeatedly rejected such “broad-brush” requests. In Donnelly v. Arringdon

Dev., Inc, No. 1:04CV889, 2005 WL 8167556, at *2 (M.D.N.C. Nov. 8, 2005),

the party served a request for “all documents identified in or relied upon in

response to Defendant’s interrogatories.” The Court explained that “[s]uch a

broad-brush request is analogous to seeking all documents relating to the

allegations in a complaint, and it has been shown that such a sweeping request

is not permitted.” Similarly, in Preferred Carolinas Realty, Inc. v. Am. Home

Realty Network, Inc., No. 1:13CV181, 2014 WL 1320133 (M.D.N.C. Mar. 28,

2014), a party had requested “not only documents that support Plaintiff's

interrogatory answers, but also those that refer or relate to facts identified.” Id.

at *4 (emphasis in original). The Court had little trouble concluding that the

request violated Rule 34’s particularity requirement. Id. The same result

should apply here.

      D.    Plaintiffs’ Requests for Documents Going Back Six Years
            Are Overbroad and Disproportionate.

      RFP Nos. 25 and 26: These requests seek “[a]ll documents created

since January 1, 2014, concerning or relating to analyses, studies, strategies,

plans, assessments, or reports relating to the supply, sale, or purchase of” or

“concerning market conditions, market participants, market shares, or


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competitors in the production of” “raw milk or processed milk in, into, or from

the Relevant Area.” As noted above, Plaintiffs’ request for “all documents . . .

concerning or related to” the items listed in the RFPs is improper. See

Donnelly, 2005 WL 8167556, at *1. DFA does not dispute that market

assessments or analyses may be relevant to Plaintiffs’ allegations and

discoverable, but Plaintiffs have failed to serve narrowly-tailored requests or

explain why or how analyses of market conditions or market shares from 2014

are probative of the markets for raw and processed milk as they exist today.

      During the meet-and-confer, Plaintiffs contended that this request was

relevant to allegations that DFA forced Dean to stop sourcing raw milk for the

Carolinas Plants from MDVA prior to 2017. Even if that were true or relevant

(it is not), however, the requests go far beyond that narrow issue and instead

seek documents going back six-years and covering a five-state area. Moreover,

Plaintiffs’ logic is circular since they seem to contend that it is relevant to

explore how MDVA stopped being a supplier to Dean many years ago to show

that the DFA acquisition would foreclose them now. Again, in light of the

narrow scope of Plaintiffs’ theory of harm, and the relief requested, the breadth

of these requests is disproportionate.




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      E.    Plaintiffs’ Requests for Documents Related to Other Milk
            Cooperatives Are Disproportionate and Irrelevant.

      RFP Nos. 44 through 48:           These requests seek “all documents”

“concerning or relating” to the formation and operation of the Appalachian

Dairy Farmers Cooperative, as well as all documents created since January 1,

2014 concerning or relating to Piedmont Milk Sales or Cobblestone Milk

Cooperative. The requests are not limited to documents that deal with the

activities of those entities within North or South Carolina or even the Relevant

Area. DFA requested that Plaintiffs explain the relevance of these requests to

the issues in this litigation during the meet-and-confer, but Plaintiffs were

unable to do so, particularly as to the time period of the information sought.

      DFA does not dispute that data regarding sales or marketing of raw milk

in the relevant area by Appalachian, Piedmont, and Cobblestone will likely be

relevant to market definition issues, or that Appalachian, Piedmont, and

Cobblestone may even have relevant information in their possession. Any such

information, however, is best obtained from those entities. See Rule 26(b)(1)

(listing “the parties’ relative access to relevant information” as a factor in the

proportionality analysis). Moreover, Plaintiffs’ requests are not narrowly-

tailored to focus on market definition. DFA does not understand—and

Plaintiffs have not explained—how the “formation and operation” of

Appalachian, a cooperative that is legally distinct from DFA and MDVA, is


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relevant. Nor have Plaintiffs explained why they require “all documents” since

January 1, 2014 in DFA’s possession that concern or relate to Piedmont and

Cobblestone, without regard to the subject matter of the documents. Once

again, Plaintiffs’ requests appear to be a “fishing expedition” without any

nexus to their allegations in this case.

      F.    DFA’s “Catch-All” Requests Are Disproportionate and Fail
            to Specify the Documents Requested.

      RFP Nos. 29 and 31: As revised by Plaintiffs, RFP No. 29 seeks, “[t]o

the extent not produced in response to Plaintiffs’ First Requests, documents

concerning or relating to the supply of processed milk in, into, or from the

Relevant Area by DFA, Dean, or a competitor, to Food Lion or other major

customers in the Relevant Area.” The request for documents “to the extent not

produced” in response to prior requests is an inappropriate “catch all” request

that fails to specify the requested documents with reasonable particularity. See

U.S. ex rel. Fago v. M & T Mortgage Corp., 238 F.R.D. 3, 13 (D.D.C. 2006)

(“Such a catch-all request cannot operate as a substitute for tailored document

requests.”) Moreover, the request for documents “concerning or relating” to the

supply of processed milk” suffers from the same overbreadth and

proportionality issues discussed above.

      RFP No. 31 is a similarly broad request for “[a]ll documents concerning

or relating to DFA’s, Dean’s, or any other company’s” pricing in connection with


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raw or processed milk sales in the Relevant Area (emphasis added). This

request essentially asks for every document relating to raw or fluid milk

pricing in DFA’s possession, and suffers from the “all documents concerning or

relating” defect as discussed above. Moreover, DFA has already produced data

regarding its actual sales of raw and processed milk in the Relevant Area. DFA

does not dispute that pricing data is relevant to Plaintiffs’ allegations in this

case, but Plaintiffs’ catch-all request for every document “concerning or

relating” to milk pricing is overbroad and disproportionate.

                                CONCLUSION

      For the reasons set forth above, DFA requests that the Court enter a

protective order providing that DFA need not respond to Plaintiffs’ Requests

for Production Nos. 25 through 27, 29, 31, and 40 through 50, and to grant such

other relief as it deems necessary and appropriate.




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Date: September 1, 2020            Respectfully submitted,


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      CERTIFICATE OF COMPLIANCE WITH WORD COUNT

      I hereby certify that the foregoing brief complies with the word limits in

Local Rule 7.3.

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